                           Case 2:12-cr-00003-AM Document 1 Filed 12/27/11 Page 1 of 1
    A091 (Rev. 12/03) Criminal Complaint                                                           AUSA

                                      UNITED STATES DISTRICT COURT                                                        FILED
                                                                                                                       DEC 2 7     2011
                                                     Western District Of Texas Del Rio Division
                                                                                                             CLERK, U.S. DISTRICT COURT
    UNITED STATES OF AMERICA                                                     CRIMINAL COME                            ,PITITOF EXAS
                           vs.
    Irma Leticia ROSALES                                                          Case Number:          .
                                                                                                                -Icso



              I, the undersigned   complainant state that the following is true and correct to the best of my

    knowledge and belief. On or about          December 25, 201 1      in                  Maverick                   County, in
    the                                        Western District Of Texas                                      defendant(s),
 intentionally and knowingly failed to enter the United States at a designated border crossing point and did not report said arrival
 and present herself and all articles in her possession for inspection, to wit: a misdemeanor,




 in violation   of Title               19               United States Code, Section(s)                          145
I   further state that I am a(n)                       order fatrolgent                    and that this complaint is based on the
following facts:
On December 25, 2011, the defendant was arrested by Border Patrol Agents after she was observed crossing the Rio Grande
approximately .5 miles south of the Eagle Pass Port of Entry-International Bridge #2. Agents made contact with th defendant
shortly thereafter at which time she admitted to having waded accross the river to avoid detection. The defendant knew a
Warrant of Arrest had been issued by the Easter District of Texas and admitted to entering the United States illegally at a place
other than a port of entry for that reason.




Continued on the attached sheet and made a part of this complaint:                 flYes               jNo



                                                                                  Signature of Complainant

                                                                                  Contreras, Salvador
                                                                                  Printed Name of Complainant
Sworn to before me and signed in my presence,

December 27, 2011                                                           at    Del Rio, Texas
Date                                                                              City/S


Collis White                                U.S. Magistrate Judge
Name of Judge                                     Title of Judge                  Signature of Judge
